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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


  CORCEPT THERAPEUTICS, INC.,

                           Plaintiff,
                                                    Civil Action Nos. 18-3632 (RMB) LDW)
                                                    (consolidated); 23-01505 (RMB)(LDW)
                           v.

  TEVA PHARMACEUTICALS USA, INC.,
                                                           Filed Electronically
                           Defendant.


                STIPULATION REGARDING VALIDITY AND CONSOLIDATION

            WHEREAS, on March 15, 2018, Plaintiff Corcept Therapeutics, Inc. (“Corcept”) filed a

 complaint in Corcept Therapeutics, Inc. v. Teva Pharmaceuticals USA, Inc., C.A. No. 18-3632

 (D.N.J.) alleging that Defendant Teva Pharmaceuticals USA, Inc. (“Teva”) infringed U.S. Patent

 No. 8,921,348 (“the ’348 patent”) and U.S. Patent No. 9,829,495 (“the ’495 patent”) by filing

 Abbreviated New Drug Application (“ANDA”) No. 211436 seeking approval to engage in the

 commercial manufacture, use, sale, importation, or offer for sale of generic 300 mg mifepristone

 tablets;

            WHEREAS, on July 6, 2018, Corcept amended its complaint to include allegations of

 infringement of U.S. Patent No. 9,943,526 (“the ’526 patent”);

            WHEREAS, on February 8, 2019, Corcept filed a complaint in Corcept Therapeutics,

 Inc. v. Teva Pharmaceuticals USA, Inc., C.A. No. 19-5066 (D.N.J.) alleging that Teva’s filing of

 ANDA No. 211436 infringed U.S. Patent No. 10,166,242 (“the ’242 patent”), U.S. Patent No.

 10,166,243 (“the ’243 patent”), and U.S. Patent No. 10,195,214 (“the ’214 patent”);

            WHEREAS, on February 21, 2019, C.A. Nos. 18-3632 and 19-5066 were consolidated

 for all purposes, and C.A. No. 19-5066 was administratively terminated;




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           WHEREAS, on December 13, 2019, Corcept filed a complaint in Corcept Therapeutics,

 Inc. v. Teva Pharmaceuticals USA, Inc., C.A. No. 19-21384 (D.N.J.) alleging that Teva’s filing

 of ANDA No. 211436 infringed U.S. Patent No. 10,500,216 (“the ’216 patent”);

           WHEREAS, on March 27, 2020, C.A. Nos. 18-3632 and 19-21384 were consolidated for

 all purposes, and C.A. No. 19-21384 was administratively terminated;

           WHEREAS, Corcept is no longer asserting infringement of the ’348, ’495, ’526, ’242,

 and ’243 patents in C.A. No. 18-3632, and therefore the only remaining patents in that

 consolidated action are the ’214 and ’216 patents;

           WHEREAS, on March 17, 2023, Corcept filed a complaint in C.A. No. 23-1505 alleging

 that Teva’s filing of ANDA No. 211436 infringed U.S. Patent No. 10,842,800 (“the ’800

 patent”) and U.S. Patent No. 10,842,801 (“the ’801 patent”);

           WHEREAS, there is a need to conserve judicial economy and reduce the costs and

 burdens of litigation on the Court and the parties, including the need to avoid delaying resolution

 of 18-3632 or avoid conducting two trials;

           NOW THEREFORE, Corcept and Teva, by and through their undersigned counsel in this

 matter, and subject to the Court’s approval, stipulate and agree as follows:

              1.          C.A. Nos. 18-3632 and 23-1505 (the “Consolidated Actions”) are consolidated

   for all purposes;

              2.          All filings going forward shall be filed in C.A. No. 18-3632, and C.A. No. 23-

   1505 shall be administratively terminated by the Clerk’s office;

              3.          Any judgment, order, or decision in the Consolidated Actions regarding the

   validity of the ’216 patent shall apply with equal and binding force to the ’801 patent;




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          4.       Any judgment, order, or decision in an appeal of the final judgment of the

   validity of the ’216 patent in the Consolidated Actions shall apply with equal and binding force

   to the ‘801 patent; and

          5.       The Consolidated Actions shall proceed on the following schedule:

            Date                                              Event

                              Corcept to submit amended/supplemental Opening expert reports
       May 12, 2023
                              on infringement of the ’800 and ’801 patents

                              Teva to submit amended/supplemental Rebuttal expert reports on
       June 12, 2023
                              noninfringement of the ’800 and ’801 patents

        July 14, 2023         Expert discovery deadline

      August 25, 2023         Final Pretrial Order to be submitted to Court on August 24, 2023 at noon **

   After August 25, 2023
    [subject to Court and     Final Pretrial Conference with Magistrate Judge Wettre in person on
     counsel availability]    August 29, 2023 at 11:00 a.m. in Newark-Courtroom 3C

                              Each party shall submit its pre- trial brief (limited to 30 pages (12-
                              point font, double-spaced) per side)

                              The parties agree not to file proposed findings of fact and
                              conclusions of law unless otherwise specifically ordered by the
     September 6, 2023
                              Court.

                              Parties file opening Daubert Briefs (limited to 1 motion; 10 pages)
                              and opening motions in limine (limited to 3 motions; 5 pages (12-
                              point font, double-spaced) per motion)

                              Parties file rebuttals to any Daubert Briefs (limited to 10 pages)
                              and motions in limine (limited to 5 pages (12-point font, double-
                              spaced) per motion)
    September 13, 2023
                              The parties agree not to file responses to pre- trial briefs or
                              proposed findings of fact and conclusions of law unless otherwise
                              specifically ordered by the Court.

    September 20, 2023        Each party shall submit a list of pre-marked exhibits and a witness
                              list, including the name and address (city and state only) of each
                              potential witness

  ** If the Final Pretrial Order exceeds 100 pages in length, a hard copy must be delivered to Chambers
  by August 24, 2023 at noon.
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                Date                                             Event

                               All trial exhibits must be pre-marked in accordance with each
                               party’s exhibit list. The parties shall not send courtesy copies of
                               trial exhibits unless the Court requests them. Counsel shall retain
                               custody of their trial exhibits until closings.

                               4-5 day trial before the Honorable Renée Marie Bumb
          September 27
                               [subject to Court availability]




  Dated: May 10, 2023


   s/ William C. Baton                                  s/ Liza M. Walsh
  Charles M. Lizza                                     Liza M. Walsh
  William C. Baton                                     Christine I. Gannon
  SAUL EWING LLP                                       WALSH PIZZI O’REILLY FALANGA LLP
  One Riverfront Plaza, Suite 1520                     Three Gateway Center
  Newark, New Jersey 07102-5426                        100 Mulberry Street, 15th Floor
  Tel: (973) 286-6700                                  Newark, NJ 07102
  clizza@saul.com                                      Tel: (973) 757-1100
  wbaton@saul.com                                      lwalsh@walsh.law
                                                       cgannon@walsh.law
  Attorneys for Plaintiff
  Corcept Therapeutics, Inc.                           Attorneys for Defendants
                                                       Teva Pharmaceuticals USA, Inc.



  SO ORDERED: May 15, 2023




  Hon. Leda D. Wettre, U.S.M.J.




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